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16
                         IN THE UNITED STATES DISTRICT COURT
17
                              FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                             CR-18-00422-PHX-SMB
20                                                    UNITED STATES’ RESPONSE TO
                          Plaintiff,                 DEFENDANTS’ JOINT MOTION TO
21            vs.                                    DISMISS INDICTMENT FOR GRAND
                                                         JURY ABUSE OR, IN THE
22                                                   ALTERNATIVE, FOR DISCLOSURE
     Michael Lacey, et al.,                           OF GRAND JURY TRANSCRIPTS
23                                                               (Doc. 780)
24                        Defendants.
25
                                       Preliminary Statement
26
           To obscure substantial evidence of their facilitation of underage prostitution via
27
     Backpage, Defendants have filed a motion to dismiss the Superseding Indictment (Doc.
28
     230 or SI) for grand jury “abuse” that is marked by fundamental misunderstandings of the
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 1   law and the facts.    Defendants are charged with Travel Act and money laundering
 2   violations arising from their operation of a criminal enterprise—Backpage.com, LLC—
 3   that facilitated and promoted prostitution, including adult and child prostitution. The SI
 4   and an abundance of intertwined evidence (which Defendants will have the opportunity to
 5   challenge at trial) shows how Backpage made child prostitution easier. While much of that
 6   evidence was uncovered as a result of U.S. Senate and grand jury subpoenas enforced over
 7   Backpage’s objections in 2016 and 2017, Backpage and its executives were long aware of
 8   it. For nearly a decade, Backpage was under enormous pressure to reduce child sex
 9   trafficking on its website; and while the company took some steps that would not seriously
10   impact its bottom line, Backpage’s executives viewed child prostitution as an inevitable
11   cost of doing business as a prostitution website.       As the President of the Auburn
12   Theological Seminary wrote to Defendants Lacey and Larkin in early January 2011: “We
13   understand from the statements you made in our meeting that your company takes it as a
14   given that a certain number of teens and children will be trafficked for sex—in spite of the
15   safeguards you have put in place—by those who pay your Web site a fee, and that is
16   unacceptable to us.” (Exh. D at 5.)
17          In the ensuing years, Backpage’s executives refused to adopt numerous
18   recommended measures to reduce child prostitution on their website. In 2011, for example,
19   they declined to implement steps such as: (1) not publishing ads with the phrase “New in
20   Town”—a widely-recognized code “used by pimps who shuttle children to different
21   locations where they do not know anyone and cannot get help”; (2) identifying the use of
22   prepaid credit cards as indicative of potential trafficking ads; and (3) determining if the
23   same phone number was used in numerous different ads, another indicator of potential
24   prostitution or trafficking. (SI¶¶100-101.) In 2013, Backpage failed to follow several
25   recommendations from the National Center for Missing and Exploited Children (NCMEC)
26   to prevent the trafficking of children, including age-verification measures and prohibiting
27   anonymous payment methods and unverified email addresses and phone numbers.
28   (SI¶134.) In 2014, NCMEC repudiated any suggestion that Backpage was a sincere anti-


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 1   trafficking ally, stating in an amicus brief that “Backpage publicizes carefully selected
 2   operational processes as a subterfuge to avoid increased scrutiny, while providing
 3   traffickers with easy access to an online venue to sell children for sex. . . . Backpage’s
 4   stated interest in doing something meaningful to stop child sex trafficking ads on its site is
 5   apparently overridden by the enormous revenue it generates from its escort ads, including
 6   ads selling children for sex.” (SI¶140.) In 2016, the First Circuit recognized that three
 7   minor victims who had been raped more than 1,900 times as a result of being trafficked via
 8   Backpage had “made a persuasive case” that “Backpage has tailored its website to make
 9   sex trafficking easier.” Jane Doe No. 1 v. Backpage.com, LLC, 817 F.3d 12, 17, 29 (1st
10   Cir. 2016). In 2017, the U.S. Senate Subcommittee on Permanent Investigations issued a
11   50-page report, BACKPAGE.COM’S KNOWING FACILITATION OF ONLINE SEX TRAFFICKING,
12   which concluded that virtually all of Backpage’s “adult” ads were solicitations for
13   prostitution and “Backpage has maintained a practice of altering ads before publication by
14   deleting words, phrases, and images indicative of criminality, including child sex
15   trafficking. . . .    Those practices served to sanitize the content of innumerable
16   advertisements for illegal transactions—even as Backpage represented to the public and
17   the courts that it merely hosted content others had created.”          (SI¶151.)1   In 2018,
18   Backpage.com, LLC and its CEO, Carl Ferrer, entered guilty pleas and admitted that the
19   great majority of Backpage’s revenue-generating ads were for prostitution; soon thereafter,
20   Backpage’s Sales and Marketing Director Daniel Hyer pleaded guilty to Travel Act
21   conspiracy and admitted, inter alia, that he and other Backpage employees (including co-
22   defendant Andrew Padilla) used the term “models” in intra-company emails to refer to
23   persons in Backpage ads who appeared to be underage—this was “to avoid looking bad in
24
25
     1
26
     https://www.hsgac.senate.gov/imo/media/doc/Backpage%20Report%202017.01.10%20FI
27   NAL.pdf (hereinafter SR).      The Report’s 840-page Appendix is available at
     https://www.hsgac.senate.gov/imo/media/doc/Final%20Appendix%202017.01.09.pdf.
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 1   a lawsuit.” (CR 271 at 10.) As explained below, the discovery in this case is replete with
 2   even more evidence concerning Backpage’s facilitation of adult and underage prostitution.
 3          Nevertheless, throughout the instant motion, Defendants cherry-pick paragraphs
 4   from the SI, construe them out of context, juxtapose them with excerpts from reports of
 5   witness interviews, and then attempt to argue that the Grand Jury was misled. In addition,
 6   Defendants rehash several arguments from their prior motions based on First Amendment
 7   and mens rea considerations—arguments this Court recently rejected. (See Doc. 793.)
 8   Moreover, Defendants fail to articulate a particularized need for the disclosure of the Grand
 9   Jury transcripts. Defendants’ motion should be denied.
10                                       Factual Background
11          On March 28, 2018, the Grand Jury returned a 61-page Indictment. (Doc. 3.) On
12   July 25, 2018, the Indictment was supplanted by the 92-page, 100-count SI. The first 48
13   pages of the SI describes in great detail who was charged, the elements of the offenses,
14   what entities were used by Defendants, the illegal objects of the charged Travel Act and
15   money laundering conspiracies, the manner and means used by Defendants to achieve those
16   illegal ends, and 156 overt acts in furtherance of the conspiracies. The remainder of the SI
17   details specific Travel Act and money laundering substantive counts. As explained above
18   and further developed in the Argument below, Defendants were repeatedly placed on notice
19   that their criminal enterprise facilitated both adult and child prostitution.
20                                             Argument
21   I.     Defendants’ Assertions of Grand Jury “Abuse” Are Unavailing.
22          Defendants’ request that the SI be dismissed for grand jury “abuse” should be
23   denied. “The Court’s power to dismiss an indictment on the ground of prosecutorial
24   misconduct is frequently discussed but rarely invoked.” United States v. Samango, 607
25   F.2d 877, 881 (9th Cir. 1979). The prosecution may exercise wide discretion in grand jury
26   proceedings. United States v. Kaplan, 554 F.2d 958, 970 (9th Cir. 1977). Critically here,
27   a district court “cannot grant a motion to dismiss an indictment if the motion is
28   ‘substantially founded upon and intertwined with evidence concerning the alleged


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 1   offense.’” United States v. Lunstedt, 997 F.2d 665, 667 (9th Cir. 1993) (emphasis added)
 2   (quoting United States v. Shortt Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir. 1986)
 3   (alterations omitted)). Rather, a court can only grant such a dismissal if it is “‘entirely
 4   segregable’ from the evidence to be presented at trial.” Lunstedt, 997 F.2d at 667 (citation
 5   omitted). Otherwise, “the motion falls within the province of the ultimate finder of fact
 6   and must be deferred [to the jury].” Id. “[A] motion requiring factual determinations may
 7   be decided before ‘trial [only] if trial of facts surrounding the commission of the alleged
 8   offense would be of no assistance in determining the validity of the defense.’” Id. (quoting
 9   United States v. Covington, 395 U.S. 57, 60, (1969)).
10            Moreover, “the law presumes, absent a showing to the contrary, that a grand jury
11   acts within the legitimate scope of its authority.” United States v. R. Enterprises, Inc., 498
12   U.S. 292, 300 (1991) (citing United States v. Mechanik, 475 U.S. 66, 75, (1986)
13   (O’Connor, J., concurring) (“The grand jury proceeding is accorded a presumption of
14   regularity, which generally may be dispelled only upon particularized proof of
15   irregularities in the grand jury process.”)); United States v. Ruppel, 666 F.2d 261, 268 (5th
16   Cir. 1982) (applying “the presumption that the grand jury and the prosecutor have properly
17   performed their duties” to reject defendant’s claim of grand jury abuse); cf. In re Antitrust
18   Grand Jury Investigation, 714 F.2d 347, 350 (4th Cir. 1983) (“What governs the decision
19   of this case is the polestar that a court should not intervene in the grand jury process absent
20   a compelling reason.”). A presumption of regularity attaches to grand jury proceedings,
21   and a defendant carries a heavy burden when claiming an abuse occurred before the grand
22   jury. See United States v. Al Mudarris, 695 F.2d 1182, 1185 (9th Cir. 1983); United States
23   v. Ferreboeuf, 632 F.2d 832, 835 (9th Cir. 1980). Bare allegations, or unsubstantiated or
24   speculative claims of impropriety, are insufficient. United States v. Ferreboeuf, 632 F.2d
25   832, 835 (9th Cir. 1980).2
26   2
       Furthermore, prosecutors are not constitutionally obligated to present exculpatory
     evidence to the grand jury. In United States v. Williams, 504 U.S. 36 (1992), the Supreme
27   Court held that the federal court’s supervisory powers over the grand jury did not include
     the power to make a rule allowing the dismissal of an otherwise valid indictment where the
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 1          Despite the heavy burden in showing irregularities in the Grand Jury proceedings,
 2   Defendants erroneously assert the government abused the grand jury process when
 3   presenting this case to the Grand Jury in three ways: (1) by wrongfully accusing Defendants
 4   of facilitating child sex trafficking; (2) misrepresenting documentary evidence; and (3)
 5   incorrectly and/or incompletely instructing the grand jury on the law. (Doc. 780, Mot. at
 6   1.) These assertions are incorrect.
 7          A.     Defendants Knowingly Allowed Ads Facilitating Child Sex Trafficking.
 8          Defendants’ primary argument is that the government presented “explosive and
 9   irrelevant evidence of child sex trafficking to the Grand Jury.” (Doc. 780, Mot. at 11.)
10   Defendants cherry-pick paragraphs from the SI and juxtapose them with reports of
11   interviews in a futile effort to show that the Grand Jury was prejudiced and misled. (Doc.
12   780, Mot. at 6-11.) Yet Defendants fail to address an avalanche of “intertwined” evidence
13   demonstrating that they knew they were facilitating child sex trafficking.
14          Defendants were repeatedly notified by law enforcement, researchers, the news
15   media, the U.S. Senate and others about the prevalence of prostitution ads—including child
16   sex trafficking ads—on Backpage’s “adult” section. (See, e.g., SI¶¶74, 86, 89, 97,105,
17   109, 111, 127, 131, 134, 140-141, 144, 151, 155; Doc. 271 at 9-10).) Moreover,
18   Defendants were repeatedly sued by underage trafficking victims, and confronted by
19   religious and anti-child sex trafficking organizations urging them to adopt particular
20   safeguards or shutter the “adult” section of their website. (See, e.g., Exhs. C, D and E;
21   SI¶134.) Despite numerous requests, Defendants refused to adopt proposals or implement
22   software that could identify underage trafficking victims. (See, e.g. SI¶¶100-101, 106, 109,
23   113, 130-131, 134, 136; see also Preliminary Statement, supra.) In addition, countless
24
25   prosecutor failed to introduce substantial exculpatory evidence to a grand jury. Following
     Williams, other courts have rebuffed efforts to challenge indictments because of an alleged
26   failure to present exculpatory evidence. See, e.g., Lapena v. Grigas, 736 F. App’x 651,
     655 (9th Cir. 2018) (“There is no federal right to have exculpatory evidence presented
27   before a grand jury.”); United States v. Isgro, 974 F.2d 1091, 1096 (9th Cir. 1992)
     (government under no duty to disclose exculpatory testimony from former trial); United
28   States v. Casas, 425 F.3d 23, 38 (1st Cir. 2005); United States v. Waldon, 363 F.3d 1103
     (11th Cir. 2004); United States v. Byron, 994 F.2d 747, 748 (10th Cir. 1993).

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 1   cases and arrests appeared in press reports on a regular basis involving prostitution or
 2   trafficking linked to Backpage. (See, e.g., SI¶ 150.) What follows is a non-exhaustive
 3   sampling of that evidence that the government will present at trial.
 4                  1.     Law Enforcement, Non-Governmental and Religious Organizations
 5            References to Defendants’ knowledge of child sex trafficking was properly included
 6   in the SI because Defendants were repeatedly confronted by organizations seeking to
 7   persuade them to shut down Backpage’s “adult” section and/or adopt safeguards in
 8   response to the prevalence of underage prostitution ads on their website. For example,
 9   Defendants had meetings and exchanged correspondence with law enforcement, religious
10   and anti-trafficking organizations about these topics, including: (1) Auburn Theological
11   Seminary (see Exh. D); (2) Polaris (see Exh. E); and (3) the National Association of
12   Attorneys General (NAAG). (SI¶¶74, 111).3 Defendants cannot plausibly claim that they
13   were not aware that the website included postings of trafficked children.
14            In 2011, Backpage hired former U.S. Department of Justice attorney Hemu Nigam
15   of SSP Blue (Safety, Security & Privacy Consulting Services) in an effort to address,
16   among other things, the proliferation of ads that featured child sex trafficking on Backpage.
17   Nigam accompanied Defendants Lacey, Larkin and Spear to meetings with NCMEC and/or
18   Polaris on March 1, 2011.4 During these meetings, Defendants were confronted with ads
19   featuring underage trafficking victims. (See, e.g., Doc. 446 at 12; Doc. 446-1 at 41-62.)
20   Following those meetings, on April 25, 2011, Nigam provided Defendants a matrix of
21   action items recommended by SSP Blue to minimize illegal postings. (See SI¶100). One
22   of those action items was that the phrase “New in Town” was indicative of child sex
23
24
     3
       The August 31, 2011 letter from NAAG, “Re: Backpage.com’s ongoing failure to
     effectively limit prostitution and sexual trafficking activity on its website,” is available at
25   http://www.naag.org/assets/files/pdf/signons/Backpage%20WG%20Letter%20Aug%202
     011Final.pdf.
26   4
       NCMEC helps locate children reported missing and assists physically and sexually
27   abused children. It distributes photos of missing children, accepts tips and information
     from the public, and coordinates these activities with state and federal law enforcement
28   agencies. http://www.missingkids.org/. Polaris is a Washington, D.C.- based organization
     that combats human trafficking, including child sex trafficking. https://polarisproject.org/.

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 1   trafficking and should put moderators on heightened alert that the ad may involve underage
 2   prostitution. (SI¶100.) Defendants failed to implement this action item and others
 3   recommended by Nigam. (SI¶101.) Many of the ads referenced in the SI and included as
 4   substantive counts included the term “New in Town” years after Nigam recommended this
 5   term be banned. (See SI¶¶169, 171, 201, Counts 12-15, 29.)
 6                    2.   Civil Lawsuits
 7            Defendants were further on notice of the spread of underage trafficking ads on
 8   Backpage as evidenced by numerous civil suits filed by underage victims. At trial, the
 9   government expects at least six victims (some referenced in the SI) to testify that they were
10   trafficked repeatedly when underage after being posted on Backpage. Several of these
11   victims are known to Defendants because they filed civil suits against several of them in
12   an array of jurisdictions.5 For example, Backpage was sued in 2012 in J.S. v. Village Voice
13   Media Holdings et al., a case involving three plaintiffs who were underage when they were
14   trafficked on Backpage. After losing a motion for summary judgment, Backpage settled
15   on the eve of trial.6 Numerous other civil cases involving child victims have been filed
16   against Backpage or its executives since 2012. (See Exh. C (listing several cases).)
17                  3.     Lacey Repeatedly Acknowledged Child Sex Trafficking on Backpage
18            Defendant Lacey’s knowledge of Backpage’s facilitation of child sex trafficking is
19   evidenced in part by his response to numerous press reports that criticized Backpage as a
20   trafficking hub. He characterized such trafficking as isolated instances and acknowledged
21   that Backpage’s efforts to prevent child sex trafficking was “not perfect, by any means.”
22   (SI¶121.) He repeatedly complained to other Backpage principals and public relations
23   5
      See e.g., J.S., v. VVMH ,LLC, No. 12-2-11362-4 (Wash. Super. Ct., Pierce Cty.) (Victim
24   4, age 15); Jane Doe v. Medalist Holdings, No. MCC1700068 (Cal. Super. Ct., Riverside
     Cty.) (Victim 13, age 15); and Jane Doe Nos. 1,2 & 3 v. Backpage.com, LLC , 17-cv-11069
25   (D. Mass) (Victim 8, age 15).

26
     6
      Travelers Property Casualty Co. later sought to deny Backpage’s claim of indemnification
     of the settlement amount, arguing that it had no duty to indemnify and citing exclusions
27   that bar coverage for intentional acts. (See Traveler Property Casualty Company of
     America v. Village Voice Media Holdings LLC, et al., 2:17cv03994 (D. Ariz.), Doc. 1.)
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 1   firms about the onslaught of negative publicity from numerous murders and the
 2   proliferation of child sex trafficking cases linked to Backpage.
 3            For example, in response to a CNN news report critical of Backpage, Lacey
 4   attempted in May 2011 to argue that the FBI child sex trafficking statistics referenced in
 5   the story were inflated, writing: “[T]he reporter has overall FBI arrests for all hookers,”
 6   and the “FBI uses 1.5% to 2% to qualify juvenile arrests.” (See Doc. 516-6 at 2.) In
 7   discussing how to respond to an inquiry by New York Times reporter Nicholas Kristoff
 8   about a 13-year-old who had been trafficked on Backpage, Lacey acknowledged in January
 9   2012 that child sex trafficking occurred on Backpage but equated underage sex trafficking
10   victims to “underage people using phony I.D. to get into bars”; he wrote that “thousands
11   of people patronize local bar [sic] legally, you dont [ sic] close it when someone underage
12   deceives the owner of the bar.” (Doc. 516-7 at 2.) Later that month, in complaining about
13   a highly-publicized Kristoff column entitled “Where Pimps Peddle Their Goods” that
14   detailed a Backpage child sex trafficking victim’s story,7 Lacey acknowledged that
15   Backpage ran ads that involved child sex trafficking, stating, “of course there are kids who
16   get through the system, as there are in bars.” (Doc. 516-8 at 2.) Again, Lacey seemed to
17   equate Backpage child sex trafficking victims (several of whom were murdered) to
18   underage individuals who sneak into bars. References to child sex trafficking in the SI are
19   further supported by this intertwined evidence and did not, as argued by the defense,
20   “unfairly and unduly taint the grand jury proceedings.”
21            B.    Defendants’ Disagreements with the Import and Weight of Various
                    Items of Evidence Underscore Precisely Why Trial Is Necessary.
22
23            Defendants’ assertion that the government “misled” the Grand Jury with respect to
24   the SI’s descriptions of certain items of evidence or information is unavailing. (Doc. 780,
25   Mot. at 5-11.) Defendants cite SI¶81 as an example, and discuss an October 16, 2010 email
26   from Padilla insisting that “if an ad makes a clear reference for sex a moderator should
27
     7
28          https://www.nytimes.com/2012/03/18/opinion/sunday/kristof-where-pimps-peddle-
     their-goods.html

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 1   delete the ad.” (Doc. 780, Mot. at 10.) But this misses the point, as Backpage’s
 2   “moderation” practices sanitized such ads by removing only the most overt references to
 3   sex-for-money terms or images while still conveying the illegal message. Indeed, in the
 4   same email discussed by Defendants, Padilla wrote: “I’d still like to avoid Deleting ads
 5   when possible,” “we’re still allowing phrases with nuance,” and “in the case of lesser
 6   violations, editing should be sufficient.” (Doc. 780, Exh. 16.) The Senate Report is replete
 7   with additional incriminating Padilla emails. (See, e.g., SR 28 (describing October 25,
 8   2010 email to a moderation supervisor in which Padilla wrote: “[Your team] should stop
 9   Failing ads…. Your crew has permission to edit out text violations and images and then
10   approve the ad.”); SR 28-31.) In all events, by late October 2010, Backpage’s default
11   response to ads proposing illegal transactions was simply to edit out the evidence of
12   illegality and approve the ad. (SR 28; see also Doc. 271 at 10 (Hyer plea agreement).) Put
13   simply, the SI’s discussion of “moderation” was not misleading or inaccurate.8
14          The SI properly included allegations that Defendants’ moderation practices made
15   child sex trafficking easier. Defendants were well aware that the moderation practices
16   stripped out coded terms indicative of child sex trafficking (e.g., ‘Lolita,’ ‘new in town,’
17   ‘sweet young thing,’ ‘young,’ ‘amber alert,’ among others) and continued to post the
18   underlying ads and receive revenue from the postings. (See SI¶¶13-14, 85, 95, 104, 116.)
19   For example, Defendants Andrew Padilla and Joye Vaught (with the knowledge of other
20   Defendants) routinely removed terms indicative of child sex trafficking but continued to
21   publish the ad (as opposed to refusing to publish the ad all together) or even refused to
22   remove the ad when a complaint was lodged that the person featured in the ad was
23   underage. (See SI¶¶85, 95, 116, 120, 123-125, 133.)
24
25   8
       The Senate Subcommittee on Permanent Investigations also obtained testimony from
26   current and former Backpage moderators. One former moderator testified that all of the
     employee-moderators knew that the ads they reviewed offered sex for money, and that
27   moderators “went through the motions of putting lipstick on a pig, because when it came
     down to it, it was what the business was about”; another former moderator testified
28   “everyone” knew that Backpage’s adult advertisements were for prostitution, and
     “[a]nyone who says [they] w[ere]n’t, that’s bullshit.” (SR 36-37.)

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 1         Defendants’ criticisms of other items of evidence discussed in the SI are similarly
 2   unavailing.   By way of a few examples only, Defendants assert that certain recent
 3   statements from Ferrer and three Backpage emails (from July, September and October
 4   2011) provide “overwhelming” evidence that Defendants did not facilitate underage
 5   prostitution and fully cooperated with organizations like NCMEC. (Doc. 780, Mot. at 7.)
 6   The three emails—all from 2011—substantially predate the developments outlined in the
 7   Preliminary Statement and additional evidence summarized above (which is not
 8   exhaustive) showing NCMEC’s repudiation of Backpage (see SI¶140), Lacey’s
 9   acknowledgements that child prostitution existed on Backpage, and the deluge of notice
10   and criticism Backpage executives received for years regarding Backpage’s facilitation of
11   child sex trafficking and refusal to adopt to numerous recommended safeguards.
12         As an example of additional evidence demonstrating Defendants’ failure to
13   regularly report underage trafficking ads to NCMEC, Victim 13 was fifteen years old when
14   she was trafficked between April and September 2015. (See SI¶ 172 and Count 23; Victim
15   13’s posting is attached as Exh. A and FBI 302 interview attached as Exh. B.) Victim 13’s
16   postings were not referred to NCMEC by a Backpage moderator. At trial, the government
17   will demonstrate that Victim 13 was not an anomaly; rather, numerous underage victims,
18   including other victims detailed in the SI, were advertised for sex on Backpage—and their
19   ads were not referred to NCMEC.
20         Victim 13’s posting explicitly solicited prostitution, stating, “I do half hour sessions
21   that vary in donation prices, 80 for head, 120 for hooking up without head and 150 for
22   hooking up with head.” (SI¶¶172 and 201, Count 23.) Her ad included coded terms
23   indicative of underage trafficking, namely mentioning “young” four times within the text
24   of the posting and a reference to “lil mama.” (See Exh. A.)
25         Victim 13 is expected to testify that in September 2015, after having been trafficked
26   at the age of 15 for several weeks, she began to receive emails from Backpage in response
27   to her posts. The emails directed her to remove the term “young”; she followed that
28   direction and simply reposted her ad without the prohibited term. In addition to Victim


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 1   13’s ad, the SI contains references to sixteen other victims, many underage, whose
 2   Backpage ads included explicit or veiled references to sex for money. (See SI¶¶160-176.)
 3   Many of these victims are expected to provide similar testimony regarding their postings
 4   that included terms indicative of being underage, and that they engaged in numerous sex
 5   acts on a daily basis and received compensation that mostly went to their pimp or trafficker.
 6   Other victims discussed in the SI were murdered by their customers; one was killed while
 7   attempting to escape from her trafficker. (SI¶165, 173 174, 175.)
 8          Further, Defendants’ assertions that Backpage documents addressing, for example,
 9   the “Dallas Plan” were inaccurately described in the SI are unavailing. Other evidence
10   intertwined with that discussed in the SI demonstrates that the Dallas/aggregation plan
11   involved the creation of prostitution ads in an effort to expand Backpage’s prostitution
12   advertising business. (See, e.g., Doc. 271 at 9 (Hyer plea agreement) (“I knew that the
13   majority of the ads that I and others at Backpage were creating through the aggregation
14   process were actually offering illegal prostitution services.”).) Similarly, Defendants’ spin
15   on what phrases like “plausible deniability” meant in other Backpage documents, or their
16   refusal to acknowledge that they understood “GFE” (Girlfriend Experience) as a coded
17   sex-for-money term, are quintessential disagreements about the evidence that Defendants
18   can advance at trial—and not indicia of grand jury “abuse.” (See Doc. 780, Mot. at 8-10.)
19          Defendants’ quibbles with the government’s descriptions of certain items of
20   evidence are not the stuff of grand jury “abuse”; if Defendants take a different view of the
21   import or weight or meaning of evidence, the proper forum for resolving their disputes is
22   trial—not a motion to dismiss. See United States v. Jensen, 93 F.3d 667, 669 (9th Cir.
23   1996) (a motion to dismiss cannot be used as a vehicle for challenging the government’s
24   proof); United States v. Boren, 278 F.3d 911, 914 (9th Cir. 2002); United States v. Nukida,
25   8 F.3d 665, 670 (9th Cir. 1993). Cf. United States v. Hoeffener, 2018 WL 2996317, at *8
26   (E.D. Mo. May 9, 2018) (“[s]omething more is needed than mere disagreement with the
27   agent’s descriptions of the images or the desire for a greater context” to trigger a Franks
28   hearing).


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            C.      Defendants’ Motion to Dismiss Based on First Amendment and Mens
 1                  Rea Concerns Should Also Be Denied.
 2          Next, Defendants rehash their First Amendment, mens rea and Travel Act
 3   arguments from their prior motions. (Compare Doc. 561, Mot. to Dismiss at 14-37 and
 4   n.33, and Doc. 746, Mot. to Dismiss at 1-12, with Doc. 780, Mot. to Dismiss at 11-15.)
 5   The government incorporates by reference its responses to those motions—specifically
 6   Docs. 649 and 776. In its October 24, 2019 Order, this Court considered and rejected
 7   Defendants’ theories. (See Doc. 793 at 12-20 (denying Doc. 561).) As explained in Docs.
 8   649, 776 and 793, the prostitution solicitations that Defendants published were
 9   categorically excluded from First Amendment protection; Defendants’ operation of the
10   internet’s leading prostitution advertising website and related business practices (which
11   were calculated to increase Backpage’s volume of prostitution advertising and conceal or
12   otherwise launder resulting revenues) were not protected editorial or publishing functions;
13   Defendants intentionally promoted or facilitated prostitution, and took several overt steps
14   in furtherance of such promotion or facilitation; and Defendants’ prostitution advertising
15   customers (including pimps, prostitutes and traffickers) were in the business of prostitution.
16   Moreover, the SI and evidence at trial will demonstrate that Defendants deliberately
17
     operated or managed Backpage.com, LLC in an effort to increase its prostitution
18
     advertising profitability, resulting in exponential increases in profits and with full
19
     knowledge that the overwhelming majority of Backpages’ revenue-generating ads
20
     promoted or facilitated prostitution. (See, e.g., SI¶¶1, 9-11, 15, 22-32, 177, 192; 18-CR-
21
     464, Doc. 7-2 at 12-13 (Ferrer plea agreement); 18-CR-465, Doc. 8-2 at 11 (Backpage.com,
22
     LLC plea agreement); Doc. 271 at 8-10 (Hyer plea agreement).)
23
     II.    Defendants Have Not Established a Particularized Need for the Grand Jury
24          Transcripts.
25          Defendants’ alternative request for disclosure of the Grand Jury transcripts should
26   be denied.9 A court may permit disclosure of grand jury materials under Rule 6(e)(3)(E)(i)
27   9
        Defendants assert the government never provided a reason for not disclosing the
     transcripts. (See Doc. 780, Mot. at 17 n.8.) That’s incorrect. Despite the volume of
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 1   [formerly 6(e)(3)(C)(i)] only when the requesting party has demonstrated a “particularized
 2   need.” Douglas Oil Co. of Calif. v. Petrol Stops Northwest, 441 U.S. 211, 223 (1979).
 3   Under this standard, the movant must demonstrate that the material sought is:
 4          [N]eeded to avoid a possible injustice in another judicial proceeding, that the
            need for disclosure is greater than the need for continued secrecy, and that
 5          [the] request is structured to cover only material so needed . . . . [Moreover],
            in considering the effects of disclosure of grand jury proceedings, the courts
 6          must consider not only the immediate effects upon a particular grand jury,
            but also the possible effect upon the functioning of future grand juries.
 7
     Id. at 222; see also United States v. Walczak, 783 F.2d 852, 857 (9th Cir. 1986)
 8
     (emphasizing that the “trial judge should order disclosure of grand jury transcripts only
 9
     when the party seeking them has demonstrated that a ‘particularized need exists which
10
     outweighs the policy of secrecy’” and holding that “the district court was correct in denying
11
     Walczak’s motion to discover the grand jury transcripts” because “Walczak gave two
12
     reasons why he sought discovery of the transcripts” but “[n]either reason constitutes
13
     ‘particularized need’”).
14
            Disclosures will not be allowed upon a mere showing of relevance, nor for general
15
     discovery. See United States v. Procter & Gamble Co., 356 U.S. 677, 682 (1958) (“This
16
     ‘indispensable secrecy of grand jury proceedings’ must not be broken except where there
17
     is a compelling necessity.      There are instances when that need will outweigh the
18
     countervailing policy. But they must be shown with particularity. No such showing was
19
     made here. The relevancy and usefulness of the testimony sought were, of course,
20
     sufficiently established. . . . Yet these showings fall short.”); United States v. Evans &
21
     Associates Const. Co., Inc., 839 F.2d 656, 658 (10th Cir. 1988) (“The party seeking
22
     disclosure must demonstrate . . . there is a particular, not a general, need for the material.
23
     The rule is not to be used as a substitute for general discovery.”); Petrol Stops Northwest
24
     v. United States, 571 F.2d 1127, 1129 (9th Cir. 1978), rev’d on other grounds sub nom.,
25
26   exhibits attached to their motion, Defendants neglected to include government’s May 16,
     2019 letter explaining (with authority) why Defendants had failed to meet their heavy
27   burden of justifying disclosure of grand jury materials. (See Exh. F.) Defendants never
     provided any counter authority, and they failed to include the government’s
28   correspondence as an attachment to their motion—as the government requested. (See Exh.
     F at 3.)

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 1   Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211(1979).              In most cases,
 2   considerations such as convenience, avoidance of delay, case complexity, the passage of
 3   time, and expense, also are insufficient reasons to justify disclosure. See Smith v. United
 4   States, 423 U.S. 1303, 1304 (1975) (holding, where movant sought disclosure of grand jury
 5   transcripts to preserve “investigatory . . . resources” and because transcripts would be
 6   “generally useful,” that “it is doubtful whether either of these reasons . . . meets the
 7   ‘compelling necessity’ standard of Rule 6(e)”); United States v. Procter & Gamble, 356
 8   U.S. at 677, 683 (1958); In re Sells, 719 F.2d 985, 991 (9th Cir. 1983).
 9          Defendants have not met their burden of demonstrating the particularized, specific
10   need for grand jury materials required by Douglas Oil and its progeny. First, Defendants
11   rely upon speculative factual misstatements before the Grand Jury as a basis for the Court
12   to order the disclosure of the transcripts. These theoretical arguments do not establish the
13   particularized need required for disclosure and for that reason alone Defendants’ request
14   should be denied. And, their arguments regarding the government supposedly misstating
15   the elements of the Travel Act have already been rejected by the Court. (See Doc. 793.)
16          Second, Defendants argue that the Grand Jury transcripts should be produced
17   pursuant to Jencks, Giglio or Brady. This ground lacks merit as well. Defendants
18   presuppose that a parade of witnesses testified before the grand jury, but only two law
19   enforcement witnesses provided testimony. It is anticipated that the government will not
20   even call these Grand Jury witnesses to testify at trial as they have not been noticed as
21   witnesses. Thus, no Jencks obligation is expected to arise.
22          Third, the request for the transcripts of the charge or instructions to the Grand Jury
23   should be denied because Defendants have failed to articulate a basis for disclosure. See,
24   e.g., United States v. Barry, 71 F.3d 1269, 1274 (7th Cir. 1995) (rejecting defendant’s
25   argument that legal instructions given to the grand jury are merely “ministerial in nature
26   and are not ‘matters occurring before the grand jury’; denying motion for disclosure);
27   United States v. Smith, 105 F. Supp. 3d 255, 261 (W.D.N.Y. 2015) (“The absence of
28   detailed allegations regarding Defendant’s alleged knowledge of the conspiracy is


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 1   insufficient to create a particularized need [for the government’s legal instructions to the
 2   grand jury].”); United States v. Faltine, 2014 WL 4370811, at *6 (E.D.N.Y. Sept. 2, 2014);
 3   (denying motion for disclosure of jury empanelment instructions).
 4            Defendants cite United States v. Belton as authority for the disclosure of the charge
 5   to the Grand Jury. 2015 WL 1815273, at *3 (N.D. Cal. Apr. 21, 2015). (Doc. 780, Mot.
 6   at 16 n.6.) Belton recognized that courts have reached different conclusions on this issue,
 7   but it adopted the view that to obtain the instructions to the grand jury the defendants do
 8   not have to demonstrate a particularized need. 2015 WL 1815273, at *3. Belton was
 9   recently rejected by United States v. Chambers, 2019 WL 1014850, at *3 (D. Conn. Mar.
10   4, 2019), which wrote:
11            The Court is not persuaded that such a relaxed approach adequately protects
              the long-recognized goals of grand jury secrecy. . . .[10] Indeed, “[legal]
12            instructions [given to the Grand Jury] ..., or the existence of such instructions
              goes to the substance of the charge being laid before the Grand Jury as well
13            as how the Grand Jury is to proceed regarding the type and manner of
              produced evidence before the panel.” United States v. Larson, 2012 WL
14            4112026, at *5 (W.D.N.Y. Sept. 18, 2012). Accordingly, affording these
              instructions the same level of secrecy as other grand jury materials is, in this
15            Court’s view, appropriate.
16   Other courts—including those within the Ninth Circuit—have taken a similar view. See,
17   e.g., United States v. Stepanyan, 2016 WL 4398281, at *2 (N.D. Cal. Aug. 18, 2016)
18   (“courts have uniformly rejected the argument that the government’s instructions or
19   remarks to the grand jury are not entitled to secrecy”); United States v. Morales, 2007 WL
20   628678, at *4 (E.D. Cal. Feb. 28, 2007) (denying defendant’s request for disclosure of
21   government’s instructions to the grand jury). Here, granting the request for the grand jury
22   instructions would do nothing but enable Defendants to “engage in a fishing expedition in
23   hopes of uncovering an impropriety or defect in the proceeding where they have no basis
24   to conclude that an impropriety or defect exists.” Faltine, 2014 WL 4370811, at *5.
25                                              Conclusion
26            Having been provided both a lengthy and thorough speaking indictment and
27   extensive discovery evidencing numerous instances in which Defendants were put on
28   10
          Citing In re Grand Jury Subpoena, 103 F.3d 234, 237 (2d Cir. 1996).

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 1   notice of Backpage’s facilitation of underage prostitution, Defendants cannot plausibly
 2   claim that references in the SI (and “intertwined” evidence the government will present at
 3   trial) to that evidence constitute grand jury “abuse.” Defendants’ alternative request to
 4   obtain grand jury transcripts and/or instructions should be rejected because Defendants
 5   have failed to articulate a particularized need. Accordingly, Defendants’ Motion (Doc.
 6   780) should be denied.
 7         Respectfully submitted this 27th day of November, 2019.
 8
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                                 CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on November 27, 2019, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
     s/ Angela Schuetta
 7   Angela Schuetta
     U.S. Attorney’s Office
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